Case 2:14-cv-05719-SDW-SCM Document 101 Filed 12/15/17 Page 1 of 4 PageID: 1193




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
 LUZVIMID NEPOMUCENO, on behalf
 of herself and those similarly      Civil Action No.
 situated                            2:14-cv-05719-SDW-SCM

                            Plaintiffs,                      MOTION TO ENFORCE THE
          vs.                                                PROVIDED SETTLEMET
                                                             AGREEMENT AND RELEASE
 MIDLAND CREDIT MANAGEMENT,                                  REGARDING THE OCTOBER 12,
 INC. and JOHN DOES 1 to 10,                                 2017 SETTLEMENT BY DEFENDANT,
                Defendants.                                  MIDLAND CREDIT MANAGEMENT,
                                                             INC.


          NOW COMES Defendant, Midland Credit Management, Inc. ("MCM"), by

 and through its counsel, Marshall Dennehey Warner Coleman & Goggin, P.C.

 which respectfully requests that this Honorable Court enforces the previously

 provided settlement agreement and release that was provided in this matter to

 counsel for Plaintiff, Luzvimid Nepomuceno ("Plaintiff"), stating as follows:

          1.       On October 12, 2017 the parties to this matter reached a settlement.

 As part of the settlement MCM agreed to pay a monetary amount to Plaintiff in

 exchange for Plaintiff entering into a settlement agreement and release.

          2.       To finalize the settlement of the matter, the parties engaged in a

 telephonic hearing with Magistrate Judge Steven C. Mannion in which the parties

 agreed to review the release entered in the "Barber" case, which was filed in the

 United States District Court for the District of New Jersey at docket number

 2:16-cv-01538-WHW-CLW.1                      (See the transcript of the October 12, 2017

 telephonic hearing which is attached hereto and marked as Exhibit "A").



 1
   The matter of Casey Barbee v. Midland Funding, et al. was filed in the United States District Court for the District
 of New Jersey on March 18, 2016 by Lawrence C. Hersh, Esq., who is counsel for Plaintiff, Luzvimid Nepomuceno
 in the current matter.
Case 2:14-cv-05719-SDW-SCM Document 101 Filed 12/15/17 Page 2 of 4 PageID: 1194




       3.     Although a settlement agreement and release between the parties

 was provided to review and was previously agreed upon in a recent matter by

 counsel of record for Plaintiff, Lawrence Hersh, Esq., counsel for Plaintiff refused

 to agree to the terms of the provided release.


       4.     Under New Jersey law, traditional contract law rules provide that a

 contract arises from the manifest intentions of the parties to engage in an offer

 and acceptance of sufficiently definite essential terms. Weichert Co. Realtors v.

 Ryan, 128 N.J. 427, 435, 608 A.2d 280 (1992) (citations omitted); See also,

 Friedman v. Tappan Development Corporation, 22 N.J. 523, 531, 126 A.2d 646

 (1956). To be enforceable, a contract must also be accompanied by

 consideration. Friedman, 22 N.J. at 533, 126 A.2d 646. Under New Jersey law,

 as long as "the parties orally agree on the essential terms," a contract formed.

 McDonnell v. Engine Distributors, Civil Action No. 03-1999, 2007 U.S. Dist.

 LEXIS 70925, 2007 WL 2814628, *3 (D.N.J. Sept. 24, 2007). "Indeed, as long

 as those essential terms are agreed to, 'the settlement will be enforced

 notwithstanding the fact that a writing does not materialize because a party

 later reneges.'" Id. (quoting, Lahue v. Pio Costa, 263 N.J. Super 575, 596, 623

 A.2d 775 (App. Div. 1993)). This is true "'even though [the parties] contemplate

 the later execution of a formal document to memorialize their undertaking.'" Id.

 (quoting, United States v. Lightman, 988 F.Supp. 448, 459 (D.N.J. 1997)).


       5.     As per the transcript of the October 12, 2017 hearing with

 Magistrate Judge Mannion, MCM was under the directive that the release that

 was utilized by counsel for Plaintiff in the Casey Barbee v. Midland Funding, et
Case 2:14-cv-05719-SDW-SCM Document 101 Filed 12/15/17 Page 3 of 4 PageID: 1195




 al. matter would be utilized in the current matter.        However, counsel for

 Plaintiff reneged on the agreement, demanding considerable deviations from

 the release.


       6.       MCM, therefore, respectfully requests that this Honorable Court

 enforce the use of the original settlement agreement and release that was

 provided to counsel for Plaintiff in this matter by having the parties execute the

 original settlement agreement and release, so as to conclude this matter. MCM

 further requests that this Honorable Court allow for Plaintiff's counsel to be

 responsible for the fees and costs incurred by MCM in having to enforce the

 previously provided settlement agreement in this matter.


                                       Respectfully submitted,

                                       MARSHALL DENNEHEY WARNER
                                       COLEMAN & GOGGIN, P.C.

                                 By:   /s/ Ronald M. Metcho / rmetcho
                                       RONALD M. METCHO
                                       2000 Market Street, Suite 2300
                                       Philadelphia, PA 19103
                                       215-575-2595 / 215-575-0856 (f)
                                       rmmetcho@mdwcg.com
                                       Attorneys for Defendant
                                       Midland Credit Management, Inc.

 Dated:         December 15, 2017
Case 2:14-cv-05719-SDW-SCM Document 101 Filed 12/15/17 Page 4 of 4 PageID: 1196




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
 LUZVIMID NEPOMUCENO, on behalf
 of herself and those similarly      Civil Action No.
 situated                            2:14-cv-05719-SDW-SCM

                   Plaintiffs,            CERTIFICATE OF SERVICE
       vs.

 MIDLAND CREDIT MANAGEMENT,
 INC. and JOHN DOES 1 to 10,
                Defendants.


       I Ronald M. Metcho, Esq. certify that Defendant, Midland Credit

 Management, Inc.'s Motion to enforce the provided settlement agreement and

 release regarding the October 12, 2017 settlement was provided to all counsel via

 ECF on December 15, 2017.




                                       MARSHALL DENNEHEY WARNER
                                       COLEMAN & GOGGIN, P.C.

                                 By:   /s/ Ronald M. Metcho / rmetcho
                                       RONALD M. METCHO
                                       Attorneys for Defendant
                                       Midland Credit Management, Inc.
